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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                              Case No.: 18-cv-22815-CIV-MORENO
   MICHAEL CRUZ,

          Plaintiff,
   -vs-

   ALLIED INTERSTATE, LLC,

           Defendant.


                                   NOTICE OF SETTLEMENT

          Plaintiff, MICHAEL CRUZ, by and through the undersigned counsel, hereby gives notice

  that he has resolved his claims against Defendant ALLIED INTERSTATE, LLC. The Parties

  will file the appropriate dismissal documents within thirty (30) days.

  Dated: November 6, 2018.
                                                    ZEBERSKY PAYNE, LLP
                                                    110 S.E. 6th Street, Suite 2150
                                                    Ft. Lauderdale, Florida 33301
                                                    Telephone: (954) 989-6333
                                                    Facsimile: (954) 989-7781
                                                    Primary Email:      i shaw@zpllp.comi
                                                    kslaven@zplIp.com
                                                    Sec. illary E- 471 : mperez@zplIp.com

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                                                          Lid
                                                     JO' I AN Pi SHAW, ESQ.
                                                     Florida B.T 0.111771
                                                     KIMBERLY A. SLAVEN, ESQ.
                                                     Florida Bar No. 117964

                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 6, 2018, the foregoing was filed with the Clerk

  of the Court using the CM/ECF system, which will send a notice of electronic filing to all

  counsel of record.
